                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND

Chambers of                                                     U.S. Courthouse Chambers 5D
Richard D. Bennett                                                      101 W. Lombard Street
United States District Judge                                              Baltimore, MD 21201
Northern Division                                                             Tel: 410-962-3190
                                                                             Fax: 410-962-3177
                                          August 16, 2024

TO COUNSEL OF RECORD

RE: Students for Fair Admissions v. The United States Naval Academy, et al.
    Civil No. RDB-23-2699

Dear Counsel:

       The Court is in receipt of Plaintiff’s Motion for Partial Summary Judgment (the
“Motion”) (ECF No. 74 *SEALED*; ECF No. 75 (redacted)), filed yesterday,
August 15, 2024. The default filing schedule set forth in Local Rule 105.2(a) could extend
briefing of this issue to September 12, 2024—i.e., after the September 5, 2024 pretrial
conference and motions hearing in this matter and just days before the ten-day bench trial
begins on September 16, 2024. Accordingly, the Court orders the following expedited briefing
schedule for this Motion: any response in opposition to the Motion shall be filed by Friday,
August 23, 2024, with any reply due by the following Wednesday, August 28, 2024.

       Although informal in format, this letter nonetheless constitutes an Order of Court and
the Clerk is directed to docket it as such.

                                                              Sincerely,


                                                                     /s/
                                                              Richard D. Bennett
                                                              United States District Judge
RDB




                                                  1
